                                                                                                     Electronically Filed - Cole Circuit - January 23, 2020 - 01:08 PM
               IN THE CIRCUIT COURT OF COLE COUNTY, MISSOURI


62ND & 65TH REGIMENTS LEGACY                          )
FOUNDATION INC. f/k/a LINCOLN                         )
UNIVERSITY FOUNDATION INC.,                           )
THOMAS J. COOPER, and SHARLYN                         )
L. COOPER,                                            )
                                                      )
                                                      )
       Plaintiffs,                                    )       Case Number: 19AC-CC00203
                                                      )
v.                                                    )       INJUNCTIVE RELIEF
                                                      )       REQUESTED
                                                      )
BOARD OF CURATORS OF                                  )       JURY TRIAL DEMANDED
LINCOLN UNIVERSITY and                                )
JOSEPH SIMMONS                                        )
                                                      )
                                                      )
       Defendants.                                    )

                        VERIFIED SECOND AMENDED PETITION

       COME NOW, Plaintiffs 62nd & 65th Regiments Legacy Foundation Inc., f/k/a Lincoln

University Foundation Inc. (“Foundation”), Thomas J. Cooper, and Sharlyn L. Cooper

(collectively, “Plaintiffs”), and for their Verified Second Amended Petition against Defendants

the Board of Curators of Lincoln University (“University”) and Joseph Simmons (“Defendant

Simmons”) state and allege as follows:

                                        INTRODUCTION

       For nearly half a century the Foundation has served Lincoln University by raising and

disbursing donor funds for scholarships for University students and in support of University

initiatives and activities. Over the course of this time and in partnership with over half a dozen

University administrations, the Foundation has raised and disbursed millions of dollars for the

direct support of the University and its students.




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       The Foundation and Lincoln University entered into a 2015 Amended Memorandum of

Understanding whereby the University would provide administrative and general support

services to the Foundation to assist the Foundation in continuing to solicit, manage and disburse

donor funds for the benefit of students and the University. Plaintiffs bring this Petition to

recover all Foundation documents, information, and assets, including in excess of $667,000 in

Foundation special-purpose funds, in excess of $145,000 in scholarship funds, and other funds

that the University wrongfully removed and retains: (1) in breach of its agreements with the

Foundation and donors; and (2) in breach of the covenant of good faith and fair dealing.

Plaintiffs further seek an order requiring that the University immediately cease and desist use of

all Foundation donor information and documents. Finally, Plaintiffs seek an order enjoining the

University from using the name “Lincoln University Foundation,” which the Foundation has

been using for nearly 50 years in connection with its own fundraising activities, in order to

prevent the University from confusing and misleading potential donors into inadvertently

sending their donations to the University when they intended to donate to the Foundation.

                                            PARTIES

       1.     The Foundation is a nonprofit corporation organized under the Missouri Nonprofit

Corporation law pursuant to Chapter 355 of the Revised Statutes of Missouri, 2017. It solicits,

secures and stewards donor gifts in support of the education, research and community activities

of Lincoln University.

       2.     Dr. Thomas J. Cooper, M.D., is an alumnus of Lincoln University who graduated

in 1970. After graduating from Lincoln University, Dr. Cooper served two years active duty in

the United States Army. Dr. Cooper is a graduate of the University of Missouri Medical School,

class of 1978. He practiced medicine in State of Missouri for 28 years, specializing in



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emergency room and family medicine throughout central Missouri. Dr. Cooper served on the

Lincoln University Board of Curators for five years during the 1980s. Dr. Cooper’s wife,

Sharlyn L. Cooper, is a Lincoln alumnae who graduated in 1968. Mrs. Cooper taught elementary

school in the State of Missouri for over 20 years. Since the 1980s, Dr. Cooper and Mrs. Cooper

have been annual donors to the Foundation and have donated in excess of $50,000 to the

Foundation’s General Scholarship Fund.

        3.      The Board of Curators for Lincoln University is a public governmental body

established and organized under Missouri law and is the governing body of Lincoln University.

        4.      Lincoln University is a historically black public land-grant university located in

Jefferson City, Missouri, and was founded by soldiers and officers of the 62nd and 65th United

States Colored Infantry at the close of the American Civil War.

        5.      Joseph Simmons is a former board member of the Foundation who, after

transferring Foundation funds to the University without authorization and in breach of his

fiduciary duties to the Foundation as described herein, was removed from the board by the

Foundation and “was hired by Lincoln University as a casual, part-time employee . . . [to work]

on special projects as assigned by the president.”

                                  JURISDICTION AND VENUE

        6.      This Court has personal jurisdiction over the parties because the University and

Defendant Simmons are principally located in Cole County, Missouri.

        7.      Venue is proper in this Court because a substantial part of the events giving rise to

the claim occurred in Cole County, and Defendants are subject to this Court’s personal

jurisdiction.




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                                               FACTS

       A. Memorandum and Understanding Between the University and the Foundation.

       8.      On September 10, 2015, the Foundation and the Board of Curators of Lincoln

University entered into an Amended Memorandum of Understanding (“Agreement”) to facilitate

fundraising for the University and student scholarships. Exhibit (“Ex.”) A (September 10, 2015

Memorandum of Understanding).

       9.      The Agreement replaced an existing memorandum of understanding that had been

in place since 2000, which provided that the University would provide administrative support to

the Foundation for purposes of providing scholarships to students and financial support to the

University.

       10.     Under the terms of the Agreement, the Foundation would serve as “the primary

external fundraising entity of the University and its Curators.”

       11.     Among other things, the Agreement details the obligations both parties agreed to

in order to raise, manage and disburse funds for the University and its students.

       12.     The University agreed to provide three distinct categories of support to the

Foundation pursuant to the Agreement. The categories included: (1) Physical Facilities; (2)

General Administrative Support; and (3) Financial Administrative Support.

       13.     First, the University agreed to provide physical facilities to the Foundation. To

this end, the University provided the Foundation with “(1) office space; (2) local telephone

service; (3) utilities; (4) office furniture; (5) other such facilities as may be necessary from time

to time.”

       14.     Second, the University agreed to provide the Foundation with general

administrative support. General administrative support included, among other things,



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maintaining “accurate and complete Foundation files”; managing “Foundation-sponsored

scholarships”; and handling “correspondence, research, and other Foundation business.”

       15.    Finally, the University also agreed to provide financial administrative support.

This category of support included: “receiving and processing deposits”; processing

“disbursement vouchers”; preparing “disbursements”; distributing “financial statements to

account contacts quarterly”; and “maintaining accurate and complete financial records.”

       16.    Financial administrative support also included, among other things, “maintaining

and updating financial binders;” responding “to inquiries by donors, account contacts,

accountants, Blackbaud computer software personnel, credit card representatives, etc.;”

maintaining and updating “Blackbaud ‘The Raisers Edge’ computer software system for donor

record management;” preparing and distributing “donor thank you cards and tax receipts;” and

overseeing the “credit card donation system.”

       17.    As part of the Agreement, the Foundation reimbursed the University for a

“mutually agreed upon percentage of any services provided to the Foundation by the University

personnel.”

       18.    Under the terms of this Agreement, the University was acting as the Foundation’s

agent and had a fiduciary duty to the Foundation with respect to matters that were within the

scope of the University’s agency.

       19.    Within months of becoming President of Lincoln University, in June 2018, Dr.

Woolfolk sought to change the Agreement. On November 16, 2018, Dr. Woolfolk sent a letter to

Hardy Dorsey, President of the Foundation, requesting a meeting on November 29, 2018 to

discuss “the relationship between Lincoln University and the Lincoln University Foundation,

Inc.” and her “proposal to mutually agree upon an Affiliation Agreement that seeks to improve



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that relationship.” Ex. B (November 16, 2018 Letter from J. Woolfolk to H. Dorsey).

Specifically, Dr. Woolfolk desired to “transfer[] funds from the Foundation to the University.”

Ex. B; see also Ex. D (Letter from Dr. J. Woolfolk to H. Dorsey with proposed Memorandum of

Understanding attached).

       20.      Dr. Woolfolk concluded her letter with a recognition that her letter might be

“unsettling.”

       21.      Less than a month after Dr. Woolfolk’s letter requesting a meeting to renegotiate

the Agreement, the Chair of the University Board of Curators sent Mr. Dorsey a letter on

December 14, 2018 notifying him of the termination of the Agreement effective December 31,

2018. Ex. C (December 14, 2018 Letter from M. Teer to H. Dorsey).

       22.      On January 17, 2019, Dr. Woolfolk provided the Foundation with a proposed

Memorandum of Understanding, signed by her. Ex. D. Dr. Woolfolk requested that “[t]he

signed Memorandum of Understanding” be returned to her “no later than February 18, 2019.”

Dr. Woolfolk’s new memorandum provided that the Foundation “earmark annually 50% of its

unrestricted funds for use by the President and shall transfer those funds annually to the

President’s discretionary fund …” Ex. D.

       23.      The Foundation responded to Dr. Woolfolk’s proposed plan of action with a letter

from its President on February 15, 2019 requesting a meeting to “fully discuss the relationship.”

Ex. E (February 15, 2019 Letter from Dorsey to Woolfolk).

       24.      On February 20, 2019, Jacqueline Shipma, Counsel for the University, sent Dorsey

a letter titled “Cease & Desist.” Ex. F (Letter from Shipma to Dorsey, February 20, 2019). The

“Cease & Desist” letter notified the Foundation that the proposed offer to renegotiate the

Agreement expired on February 18, 2019 and that “[b]ecause the Foundation rejected that offer



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[Woolfolk’s proposed MOU], the University is ceasing all administrative services on behalf of

the Foundation effective end of business March 22, 2019.”

       B. Transfer of in Excess of $667,000 in Special Purpose Funds from
          the Foundation to University.

       25.    Approximately eight (8) days after the University’s counsel notified the

Foundation that all administrative services provided by the University would be terminated, the

University, in consultation with Joseph Simmons, who at that time was a Foundation board

member, transferred in excess of $667,000 from Foundation bank accounts to University bank

accounts in violation of the Foundation’s established procedures for the transfer of special

purpose funds.

       26.    On or about February 28, 2019, in excess of $667,000 was transferred from

Foundation bank accounts to University bank accounts, including checks in the following

amounts: (1) check No. 12697 was written in the amount of $71,932.35; (2) check No. 12698

was written in the amount of $224,313.12; (3) check No. 12702 was written in the amount of

$90,754.06; and (4) check No. 12704 was written in the amount of $280.173.52. Each check

was written on the same day, made payable to the same account, and invoiced with the same

description which read “Moving Funds to LU Fund.”

       27.    These large transfers were uncommon transfers for the Foundation as generally

transfer amounts were smaller dollar amounts, usually a couple thousand dollars but no more

than $10,000.00. Moreover, these transfers contravened long-standing Foundation procedures.

       28.    In transferring the funds to University, Joseph Simmons acted in violation of

Foundation procedures and beyond the scope of his authorization in that he: (1) transferred in

excess of $667,000 in funds without receiving requests that specified the purpose for which the

funds were being transferred; and (2) issued checks in excess of $10,000 without notifying any


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other board member of the transfers. Mr. Simmons was never authorized to transfer in excess of

$667,000 in Foundation funds to the University for an unspecified purpose without informing

any other Foundation board member.

       29.    The Foundation’s officers and other board members did not become aware of

these unauthorized transfers until on or about March 8, 2019. The Foundation’s counsel, James

Tippin, then sent a letter to Mr. Simmons requesting that he, among other things, explain the

basis for the transfers and the reasons for the secrecy surrounding the transfers. See Ex. J

(March 8, 2019 Letter from J. Tippin to J. Simmons regarding unauthorized transfers). The

Foundation has never received any response to its letter.

       30.    On March 22, 2019, at the direction of the Foundation President and with the full

consent of the Foundation Board, the Foundation’s counsel sent Mr. Simmons a letter informing

him that he had “been removed from the Foundation Board of Directors.” Ex. K (March 22,

2019 Letter from J. Tippin to J. Simmons regarding removal from Board of Directors). Mr.

Simmons’ removal was in response to his unauthorized transfer of over $667,000 of Foundation

funds to the University.

       31.    On or about, March 15, 2019, approximately two weeks after Mr. Simmons made

the unauthorized transfers of funds from the Foundation to the University, he “was hired by

Lincoln University as a casual, part-time employee . . . [to work] on special projects as assigned

by the president.” Ex. L (April 13, 2019, Jefferson City News Tribune Article, “Lincoln

University rehires administrator on part-time basis). Mr. Simmons was to be paid $14,000 for

his work on “special projects.” Ex. L.

       32.    The in excess of $667,000 in funds were transferred from Foundation accounts

that, pursuant to agreements entered into by donors, the Foundation, and the University, were to



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be established within the Foundation and were to be administered by the Foundation (“Donor

Agreements”). See Ex. G (four sample written Donor Agreements) (filed under seal). Some of

the Donor Agreements were formalized in written memoranda of understanding and others were

to be administered based on oral agreements.

       33.    On or about May 13, 2019, the Greater Kansas City Lincoln University Alumni

Association sent a letter to Dr. Woolfolk requesting that “all funds of the Greater Lincoln

University Alumni Association, endowed, unrestricted, special or any other category . . . remain

or be returned to the 62nd and 65th Regiments Legacy Foundation Inc.” See Ex. M (May 13,

2019 Letter from R. Coleman, President of Greater Kansas City Alumni Association, to Dr. J.

Woolfolk regarding Kansas City Alumni Chapter donations).

       34.    On or about May 18, 2019, the Lincoln University Atlanta Alumni Chapter, Inc.

sent a letter to Dr. Woolfolk stating: “We have no direct deposits made to the university unless

they are authorized transfers of funds from the Foundation to the University or other account

holders in the foundation by the chapter. As such, if any funds have been removed from any of

our foundation accounts to the university without our authorization, they are to be returned

immediately without question.” Ex. N (May 18, 2019 Letter from Dr. S. Bonds, President of

Lincoln University Atlanta Alumni Chapter, to Dr J. Woolfolk regarding Atlanta Alumni

Chapter donations). As a result of the unauthorized February 28, 2019 transfers, the University

received in excess of $9,000 in Atlanta Alumni Chapter donations in breach of donor

agreements. Ex. N.

       35.    On June 5, 2019, The National Lincoln University Alumni Association wrote Dr.

Woolfolk instructing that “all funds of the Lincoln University Alumni Association, Inc.

(endowed, unrestricted, special or any other category) are to remain or be immediately returned



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to the 62nd & 65th Regiments Legacy Foundation, Inc.” Ex. O (June 5, 2019 Letter from J.

Johnson, National President for Lincoln University Alumni Association (“LUAA”), Inc., to Dr.

J. Woolfolk regarding LUAA donations).

       C. Transfer of in Excess of $145,000 in Foundation Scholarship Funds
          to the University.

       36.    During the time period of January 30, 2019 to February 19, 2019, after having

unilaterally terminated its Agreement with the Foundation, the University, in consultation with

Defendant Joseph Simmons improperly transferred in excess of $145,000 from Foundation bank

accounts to University bank accounts.

       37.    From on or about January 30, 2019 to February 19, 2019, in excess of $145,000

was transferred from Foundation bank accounts to University bank accounts, including checks in

the following amounts: (1) check No. 12664 was written in the amount of $11,301.07; (2) check

No. 12665 was written in the amount of $15,625.00; (3) check No. 12666 was written in the

amount of $59,825.00; and (4) check No. 12667 was written in the amount of $20,750; (5) check

No. 12679 was written in the amount of $20,000.00; (6) check No. 12680 was written in the

amount of $400.00; (7) check No. 12681 was written in an amount of $1500.00; and (8) check

No. 12692 was written in an amount of $16,800.00.

       38.    These transfers contravened long-standing Foundation procedures because (1) they

were transfers in excess of $10,000 that were concealed from board members other than

Defendant Joseph Simmons, who violated Foundation procedures in transferring the funds; and

(2) they were scholarship funds that were dispersed without the knowledge or approval of the

Foundation’s scholarship committee.

       39.    In transferring the funds to University, Defendant Joseph Simmons acted in

violation of Foundation procedures and beyond the scope of his authorization in that he: (1)


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transferred in excess of $10,000 in scholarship funds without specifying the student to whom the

funds were purportedly being transferred; (2) issued checks in excess of $10,000 without

notifying any other board member of the transfers; and (3) transferred scholarship funds without

the knowledge or approval of the Foundation’s scholarship committee. Mr. Simmons was never

authorized to transfer in excess of $145,000 in Foundation funds to the University for purported

scholarships without informing any other Foundation board member and without obtaining the

approval of the scholarship committee.

        40.   Due to the University’s initial failure to transfer any of the Foundation’s records

back to the Foundation following the University’s unilateral termination of the Agreement and

the subsequent production of the records in a disorganized manner, the Foundation’s officers and

other board members did not become aware of these unauthorized transfers of in excess of

$145,000 in scholarship funds until on or about November 2019, upon the completion of

multiple months of work by the Foundation’s newly hired accountants.

        D. Transfer of the Coopers’ General Scholarship Funds from Foundation Bank
           Accounts to University Bank Accounts.

        41.   Dr. Thomas J. Cooper and Sharlyn L. Cooper made annual contributions to a

Foundation general scholarship fund with the intent and understanding that their donations to the

general scholarship fund would be held and administered by the Foundation.

        42.   On December 28, 2018, the Coopers made a $5,000 donation to the Foundation

with the intent that their donation would be administered by the Foundation. The $5,000

donation was deposited in the Foundation’s General Scholarship fund account on January 7,

2019.

        43.   In January and February 2019, the University transferred in excess of $5,000 from

the General Scholarship Fund that held Dr. Cooper and Mrs. Cooper’s donations to a University


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account.

       E. The Foundation’s Request for the Return of Foundation Documents.

       44.    On March 22, 2019, James Tippin, the Foundation’s counsel and a former

longtime Foundation board member, sent a letter to the University on behalf of the Foundation

requesting that the University deliver all Foundation documents, information and property that

was in the University’s possession to the Foundation. See Ex. H (March 22, 2019 Letter from J.

Tippin to J. Shipma regarding the return of Foundation property). The requested documents,

information and property, included but was not limited to: (1) the Foundation’s donor list, donor

history and donor database; (2) Foundation bank statements; (3) financial records such as tax

returns and independent audits; (4) computer software used for financial management; and (5)

memoranda of understanding between the Foundation and its donors. The Foundation requested

“[a]n accounting for all disbursements from those transferred funds, to include but not limited to

supporting documents.” The Foundation further requested that the University confirm that it had

not retained any of the Foundation’s donor information or documents.

       45.    On April 2, 2019, Shipma responded by letter to the Foundation’s March 22, 2019

letter. Ex. I (April 2, 2019 Letter from J. Shipma to J. Tippin). The letter stated that “for a

variety of legal and other reasons,” the University would not be able to certify that it “has not

retained information on donor records as most of the records also involve the University” and

that the request for resolutions and other Board of Curator action “are closed records under” the

Sunshine Law.

       46.    On April 8, 2019, the University sent Mr. Tippin an email supplementing its

responses in its April 2, 2019 letter. The email noted that the University had provided copies of

some of the requested documents to the Lincoln University Police Department for the

Foundation’s retrieval.
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       47.    The University produced some, but not all the documents responsive to the

Foundation’s March 22, 2019 request. The University’s document production failed to include,

among other things, (1) the Foundation’s donor list; (2) information sufficient for it to access the

Raiser’s Edge database (software that was purchased with Foundation funds), which is the donor

and fundraising management system that is used to manage all of the Foundation’s fundraising

and disbursements; and (3) documents and information sufficient to fully account for the

transferred funds.

       48.    On April 29, 2019, the Foundation’s counsel renewed the Foundation’s requests

that: (1) all documents and information belonging to the Foundation be immediately delivered to

the Foundation; and (2) the University agree not to use or retain any Foundation documents or

donor information.

       49.    As a result of the University’s failure to fully comply with the Foundation’s March

22, 2019 and April 29, 2019 requests, the Foundation was unable to: (1) establish administrative

functions to continue its work fundraising and supporting the University and its students; and (2)

fully account for the in excess of $667,000 transfer of Foundation special purpose funds to the

University Advancement Office.

       F. The University’s Use and Infringement of the Foundation’s Marks.

       50.    The Foundation was formed in 1970.

       51.    Since its formation in 1970, the Foundation has used the name, “Lincoln

University Foundation” or “Lincoln University Foundation Inc.,” as well as various symbols,

logos, and marks that it has developed, in connection with its services and fundraising activities.

       52.    The Foundation has ownership or rights in its name, symbols, logos, and marks,

including the name “Lincoln University Foundation.” The Foundation’s name, symbols, logos,

and marks are inherently distinctive or, alternatively, have secondary meaning in that the public
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identifies and has come to associate the Foundation’s name, symbols, logos, and marks with the

Foundation’s services and fundraising activities.

       53.    Following the University’s unilateral termination of the Agreement and

disaffiliation with the Foundation, the Foundation changed its name, which had been “Lincoln

University Foundation, Inc.,” to “62nd & 65th Regiments Legacy Foundation, Inc.” on March 6,

2019. The Foundation also voluntarily stopped using the name “Lincoln University Foundation”

in connection with its operations and fundraising activities, at the University’s request.

However, the Foundation reserves the right to continue using the name “Lincoln University

Foundation,” which has secondary meaning in that the public and, specifically, potential donors,

identify and associate the name with the Foundation.

       54.    On March 7, 2019, the Foundation registered the name, “Lincoln University

Foundation,” as a fictitious name with the Missouri Secretary of State, demonstrating that the

Foundation continues to reserve its right to use the name “Lincoln University Foundation” in the

future. Ex. P (March 7, 2019 Application for Registration of Fictitious Name).

       55.    After the University unilaterally terminated the Agreement with the Foundation,

the University began to unlawfully use the name “Lincoln University Foundation” in connection

with its own fundraising activities. For example, the University’s web site solicited donations

under the name “Lincoln University Foundation.” Ex. Q (Lincoln University fundraising web

site https://www.lincolnu.edu/web/advancement/annual-support as of November 14, 2019).

       56.    On May 22, 2019, the University filed an Application for Reservation of the name

“Lincoln University Foundation, Inc.” Ex. R (May 22, 2019 Application for Reservation of

Name). The reservation subsequently expired on July 22, 2019. The University reapplied on

January 10, 2020. Ex. S (January 10, 2020 Application for Reservation of Name).



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       57.     The University’s continued use of the name “Lincoln University Foundation” in

connection with its fundraising and other activities is likely to cause confusion as to

Foundation’s origin, sponsorship, or approval of the University’s fundraising activities and other

operations.

       58.     As stated herein, many donors, including various alumni associations and

Plaintiffs Dr. Cooper and Mrs. Cooper, have stated that they wish to continue donating to the

Foundation rather than to the University, and that their donated funds be administered by the

Foundation rather than the University. The University’s unlawful use of the name “Lincoln

University Foundation” is likely to confuse and mislead such donors.

                Count I (Breach of Donor Agreements Against the University)

       59.     Plaintiffs reincorporate by reference the allegations contained in paragraphs 1

through 58 above as if fully set forth herein.

       60.     The University entered into Donor Agreements with the Foundation and

Foundation donors for the establishment of special purpose and other funds to be held within the

Foundation.

       61.     Under the terms of the Donor Agreements, the Foundation and the University

further agreed that: (1) the funds would be administered by the Foundation; and (2) the funds

would be utilized for the purpose that was specified in the Donor Agreements.

       62.     The University breached the Donor Agreements by: (1) improperly inducing Mr.

Simmons to transfer in excess of $667,000 of Foundation special purpose funds and in excess of

$145,000 in scholarship funds, which were being administered pursuant to the terms of the

Donor Agreements, to the University; and (2) improperly accepting in excess of $667,000 of

special purpose funds and in excess of $145,000 in scholarship funds, which were being



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administered by the Foundation pursuant to the terms of the Donor Agreements, into University

bank accounts.

          63.   The improperly transferred scholarship funds included at least $5,000 that was

donated by the Coopers and was intended to be held and administered by the Foundation.

          64.   The Foundation and the donors had performed all of their duties, obligations and

conditions precedent under the terms of the Donor Agreements.

          65.   The University failed to perform its obligations under the terms of the Donor

Agreements when it improperly induced Mr. Simmons to transfer in excess $667,000 of special

purpose funds and in excess of $145,000 in scholarship funds that were held pursuant to Donor

Agreements and improperly accepted the transfer of those funds into University accounts.

          66.   The University’s failure to perform its obligations damaged the Foundation in that

it: (1) has caused the Foundation to be deprived of in excess of $667,000 in special purpose

donor funds and in excess of $145,000 in scholarship funds; (2) has caused the Foundation to be

unable to fulfill its obligation to administer those funds pursuant to the terms of the Donor

Agreements; and (3) has disrupted the Foundation’s ability to continue its operations and raise

funds.

          67.   Plaintiffs have suffered damages as a direct result of the University’s breach of the

Donor Agreements in excess of $25,000 which will be proven at trial.

          WHEREFORE, Plaintiffs pray for judgment against the University in Count I herein in a

sum in excess of Twenty-Five Thousand Dollars ($25,000), for direct, consequential, incidental

damages, and punitive damages, for attorneys’ fees and costs incurred herein, for pre-judgment

and post-judgment interest, and for such other and further relief as the Court deems just and

proper.



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             Count II (Breach of Foundation Agreement Against the University)

       68.     Plaintiffs reincorporate by reference the allegations contained in paragraphs 1

through 67 above as if fully set forth herein.

       69.     The University entered into the Agreement with the Foundation in which the

University agreed to provide the Foundation administrative support for the purpose of

fundraising for the benefit of the University and its students.

       70.     In exchange for the University’s agreement to provide administrative support, the

Foundation agreed to solicit and raise funds in support of the University and its students and to

reimburse the University for a percentage of the cost of the administrative services that

University staff provided to the Foundation.

       71.     The Foundation performed all of its duties, obligations and conditions precedent

under the terms of the Agreement.

       72.     The University failed to perform its obligations under the Agreement by: (1)

improperly inducing Mr. Simmons to transfer in excess of $667,000 of Foundation special

purpose funds and in excess of $145,000 in scholarship funds, which were being administered

pursuant to the terms of the Donor Agreements, to the University; and (2) improperly accepting

in excess of $667,000 of Foundation special purpose funds and in excess of $145,000 in

scholarship funds (which were being administered by the Foundation pursuant to the terms of the

Donor Agreements) into University bank accounts.

       73.     The University also failed to perform its obligations under the Agreement when it

unilaterally terminated its agreement with the Foundation and failed to provide the administrative

support necessary to transfer the documents and information belonging to the Foundation, as the

Foundation requested in letters of March 22, 2019 and April 29, 2019.



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          74.      The University further failed to perform its obligations under the Agreement by

failing to make any effort to responsibly transition administrative responsibilities to Foundation.

          75.      The University’s failure to perform its obligations damaged the Foundation in that

it has caused the Foundation to be unable to: (1) disburse scholarships to deserving University

students; (2) continue its fundraising operations; (3) account for donor gifts that were entrusted

to the Foundation; (4) communicate with its donors; and (5) administer in excess of $667,000 in

special purpose and other donations and in excess of $145,000 in scholarship donations that the

University wrongfully removed from Foundation bank accounts.

          76.      Plaintiffs have suffered damages as a direct result of the University’s breach of the

Agreement in excess of $25,000 which will be proven at trial.

          WHEREFORE, Plaintiffs pray for judgment against the University in Count II herein in a

sum in excess of Twenty-Five Thousand Dollars ($25,000), for direct, consequential, incidental

damages and punitive damages, for attorneys’ fees and costs incurred herein, for pre-judgment

and post-judgment interest, and for such other and further relief as the Court deems just and

proper.

                Count III (Breach of Implied Covenant of Good Faith and Fair Dealing
                                       Against the University)

          77.      Plaintiffs reincorporate by reference the allegations contained in paragraphs 1

through 76 above as if fully set forth herein.

          78.      As set forth above, the Foundation entered into the Agreement and performed its

obligations under the terms of the Agreement.

          79.      The Agreement imposes on each party a duty of good faith and fair dealing in its

performance.

          80.      The University breached its duty of good faith and fair dealing by: (1) unilaterally


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terminating its agreement with the Foundation and failing to provide the administrative support

necessary to transfer the documents and information belonging to the Foundation to the

Foundation, as requested in the Foundation’s March 22, 2019 and April 29, 2019 letters; and (2)

failing to perform its obligations under the Agreement by seeking to retain and use Foundation

donor information, documents, and in excess of $667,000 in special purpose donor funds and

$145,000 in scholarship funds.

          81.   The University exercised judgment and discretion conferred by the Agreement in

such a manner as to evade the spirit of the transaction or so as to deny the Foundation the

expected benefit of the Agreement.

          82.   As a direct result of the University’s breaches of the Agreement and the implied

covenant of good faith and fair dealing, Plaintiffs are damaged in an amount in excess of $25,000

which will be proven at trial.

          WHEREFORE, Plaintiffs pray for judgment against the University in Count III herein in

a sum in excess of Twenty-Five Thousand Dollars ($25,000), for direct, consequential, incidental

damages, and punitive damages, for attorneys’ fees and costs incurred herein, for pre-judgment

and post-judgment interest, and for such other and further relief as the Court deems just and

proper.

                Count IV (Breach of Fiduciary Duty Against Defendant Simmons)

          83.    Plaintiffs reincorporate by reference the allegations contained in paragraphs 1

through 82 above as if fully set forth herein.

          84.    In his role as a board member of the Foundation, Defendant Simmons owed the

Foundation fiduciary duties, including the duties of care, loyalty, good faith, and obedience.

          85.    Defendant Simmons breached his fiduciary duties to the Foundation when he



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transferred Foundation funds from Foundation bank accounts to the University’s bank accounts

in violation of the Foundation’s established procedures for the transfer of such funds. Defendant

Simmons was never authorized to transfer these Foundation funds to the University.

        86.      Defendant Simmons further breached his duties to the Foundation by failing to

disclose to the Foundation, including any of its officers or other board members, that he had

transferred these Foundation funds to the University, even after the Foundation discovered the

funds had been transferred. Defendant Simmons never responded to the Foundation’s letter

requesting that he explain the basis for the transfers and the reasons for the secrecy surrounding

the transfers.

        87.      The conduct of Defendant Simmons in transferring these funds (and failing to

disclose these transfers) caused monetary damage to Plaintiffs. The Foundation has been unable

to disburse scholarships to deserving University students.

        WHEREFORE, Plaintiffs pray for judgment against Defendant Simmons in Count IV

herein in a sum in excess of Twenty-Five Thousand Dollars ($25,000), for direct, consequential,

incidental damages, and punitive damages, for attorneys’ fees and costs incurred herein, for pre-

judgment and post-judgment interest, and for such other and further relief as the Court deems

just and proper.

                 Count V (Violation of the Lanham Act Against the University)

        88.      Plaintiffs reincorporate by reference the allegations contained in paragraphs 1

through 87 above as if fully set forth herein.

        89.      In connection with its fundraising activities and other operations, the University

has used the Foundation’s name, symbols, logos, and marks, including the name “Lincoln

University Foundation,” has made misleading representations of fact, and has otherwise acted in



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a manner likely to cause confusion, to cause mistake, and/or to deceive as to: (a) the University’s

affiliation, connection, and/or association with the Foundation; and/or (b) the Foundation’s

origin, sponsorship, or approval of the University’s fundraising activities and other operations.

       90.     The University has thereby violated § 43(a) of the Lanham Act, 15 U.S.C.

§ 1125(a).

       91.     The Foundation has been damaged by the University’s violations of the Lanham

Act and will suffer irreparable injury unless the University is enjoined from further violations of

the Lanham Act.

               Count VI (Common Law Infringement Against the University)

       92.     Plaintiffs reincorporate by reference the allegations contained in paragraphs 1

through 91 above as if fully set forth herein.

       93.     The University is liable for common law infringement under Missouri law.

       94.     The University’s use of the Foundation’s name, symbols, logos, and marks,

including the name “Lincoln University Foundation,” creates a likelihood of injury to the

Foundation’s business reputation and the dilution of the distinctive quality of the Foundation’s

name, symbols, and marks.

       95.     Under Mo. Rev. Stat. § 417.061.1, the Foundation is entitled to preliminary and

permanent injunctive relief enjoining the University from using the Foundation’s name, symbols,

logos, and marks.

                    Count VII (Unfair Competition Against the University)

       96.     Plaintiffs reincorporate by reference the allegations contained in paragraphs 1

through 95 above as if fully set forth herein.




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       97.      The University has engaged in unfair competition with the Foundation in

violation of Missouri law.

                    Count VIII (Trademark Dilution Against the University)

       98.      Plaintiffs reincorporate by reference the allegations contained in paragraphs 1

through 97 above as if fully set forth herein.

       99.      The University’s use of the Foundation’s name, symbols, and marks, including

the name “Lincoln University Foundation,” has unlawfully created a likelihood of dilution of the

distinctive quality of the Foundation’s name, symbols, logos, and marks in violation of Missouri

law.

             Count IX (Violation of Mo. Rev. Stat. § 417.150 Against the University)

       100.     Plaintiffs reincorporate by reference the allegations contained in paragraphs 1

through 99 above as if fully set forth herein.

       101.     The University has used a name resembling the Foundation’s name in violation of

§ 417.150, which provides that “[n]o person, society, association or corporation shall assume,

adopt or use the name of a military, ex-military, patriotic, benevolent, humane, fraternal or

charitable organization incorporated or organized under the laws of this or any other state of the

United States, or a name so nearly resembling the name of such incorporated organization as to

be a colorable imitation thereof, or calculated to deceive any person with respect to such

corporation.”

                                         Prayer for Relief

       WHEREFORE, Plaintiffs pray for judgment against the University in Counts I through

III and against Defendant Simmons in Count IV herein in a sum in excess of Twenty-Five

Thousand Dollars ($25,000) for each, for direct, consequential, incidental, and punitive damages,



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for attorneys’ fees and costs incurred herein, for pre-judgment and post-judgment interest, and

for such other and further relief as the Court deems just and proper.

       Plaintiffs further pray that the University be temporarily, preliminarily, and permanently

enjoined and restrained from: (1) retaining, using or disclosing any documents or information it

has obtained as a result of performing its obligations under the Agreement; (2) withholding the

Foundation’s documents, information and assets currently in its possession from the Foundation;

and (3) expending any of the in excess of $667,000 in Foundation special-purpose funds or the in

excess of $145,000 in scholarship funds that were transferred into a University account in

January and February 2019 after the Agreement had been unilaterally terminated by the

University.

       Plaintiffs further pray that the Court enter judgment in favor of the Foundation and

against the University preliminarily and permanently enjoining the University from: (1) using the

Foundation’s name, symbols, logos, and marks in the University’s fundraising activities and

other operations; (2) doing business under the name “Lincoln University Foundation”; (3)

representing that the University is affiliated with, connected with, associated with, sponsored by,

or approved by the Foundation in any manner; (4) receiving or accepting new donations, gifts, or

bequests intended for the Foundation; or (5) representing that the University is authorized by the

Foundation to receive or accept new donations, gifts, or bequests intended to be given to the

Foundation.




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Dated: January 23, 2020                              Respectfully submitted,

                                                     DOWD BENNETT LLP

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                                                     Attorneys for Plaintiffs



                                CERTIFICATE OF SERVICE

       I hereby certify that on January 23, 2020, a true and correct copy of the foregoing was

served on all counsel of record via the Missouri Court’s electronic filing system.



                                             \s\ Gabriel E. Gore




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                                                  {-)ÿw,yÿ(3+)ÿ'{-ÿÿÿÿÿÿÿÿÿÿÿÿÿÿÿÿÿÿÿÿÿÿÿÿÿÿÿÿÿÿÿÿÿÿÿÿÿÿ$9%ÿAÿ
                                                3,z2{,3+)ÿ'{-ÿÿÿÿÿÿÿÿÿÿÿÿÿÿÿÿÿÿÿÿÿÿÿÿÿÿÿÿÿÿÿÿÿÿÿÿÿÿÿÿÿÿÿÿÿ:ÿAÿ$




                                                    6w3{<ÿÿ3,z2{,ÿ,3)/*3+4ÿB2-,yw+32,5ÿ?%:ÿ2-,ÿw{{5ÿ#$%ÿ'()*+,-+ÿ.+/))+5ÿ0)11)/*2,ÿ'3+45ÿ67ÿ89:%:
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                                                ;{)w*)ÿz2,+wz+ÿ+()ÿB2-,yw+32,ÿ71z)ÿw+ÿ9>?A8#:A8%>%ÿ+2ÿ{)w/,ÿ~2/)ÿw2-+ÿ2-/ÿ33,ÿ|/32/3+3)*



    ÿ                                                                                               CDÿFGHIJKÿLKMNOPQMD             LQJXPN
          #$%ÿ'()*+,-+ÿ.+/))+                                                                       RSÿTNUV                         YQHJZXPKQJÿ[O\QGXMV\K]V
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          ;<ÿ=9>?@ÿ8#:A8%>%ÿB<ÿ=9>?@ÿ8#:A9##$                                                       WQJPXOPÿSV                      ^_NJPÿ̀NaKVPMXPKQJ
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